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EXHIBIT E

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2 DIAMOND McCARTHY up
= Attorneys & Counselors
” Renaissance Tower ]}20} Elm Street. 34th Floor | Dallas, TX 75279 | Phone: 214 389 5300 | Fox: 214 389 5399
Writer's Direct Dial Number Email Address
(214) 389-5306 emadden @diamondmecarthy com
April 25, 2007

VIA FACSIMILE
AND CERTIFIED MAIL
Nevada State Bank —

Attn: Patiicia Bell
750 East Warm Springs Road
Las Vegas, Nevada 89119

Re: In ve USA Commercial Mortgage Company, Case No. BK-S-06-10725-LBR,
pending in the United States Bankruptcy Court for the District of Nevada

Dear Ms. Bell:

My firm is special litigation counsel to the USACM Liquidating Trust (“Trust”) in the
above-referenced matter. The Trust recently served a Rule 2004 subpoena (the “Subpoena”)
upon you, seeking a production of certain documents and an examination of a designated
corporate representative.

Please be advised that the Trust will not enforce those document requests in Exhibit “B”
to the Subpoena that are unrelated to the Debtors (as that term is defined therein), USA
Investment Partners, LLC (“USAIP”), arid’those entities in which USAIP ot USA Commercial
Mortgage Company (““USACM”) is the managing or majority member. Such requests are hereby
withdrawn. The Trust, however, expressly reserves the right to. make the same or similar
requests in the future, pursuant to Rule 2004 or otherwise. In the meantime, you should
nonetheless comply with all document requests in Exhibit “B” related to the Debtors, USAIP,
and those entities in which USAIP or USACM is the managing or majority member. '

Thank you in advance for your cooperation in connection with the Subpoena. Please call
me if you have any questions.

Very truly yours,
. | erimissi
Eric D. Madden Ne teeren
Enclosure
I A list of such entities is attached hereto as Exhibit “A”
1140414 Diamond McCarthy Taylor Finley & Lee LLP

Houston | Two Houston Center | 909 Fannin, Suite 1500 {| Houston, TX 77010 | Phone: 713.333 5100 | Fax: 713.393 5199
Austin | 6504 Bridgepoint Parkway | Suite 400 | Austin, TX 78730 | Phone: 512 617 5200 | Fox: 532 617 5299
www diamondmecarthy com

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Diamond McCarthy LLP

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April 25, 2007
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ce: Geoffrey Berman
Allan Diamond
Bill Reid
Rob Charles
John Moe
Kaaran Thomas

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EXHIBIT “A”

Amblano, LLC (XX-XXXXXXX)

Ashby USA, LLC (XX-XXXXXXX)

Aware TM 30850, LLC (XX-XXXXXXX)

Blue Vale, LLC (88-04794856)

California Desert, LLC (XX-XXXXXXX)

Clemency, LLC (XX-XXXXXXX)

Cornman Toltec 160, LLC

FWY 101 USA Investors, LLC (XX-XXXXXXX)

Happy Valley, LLC (XX-XXXXXXX)

Haspinov, LLC (XX-XXXXXXX)

HMA Management, LLC (XX-XXXXXXX)

HMA Sales, LLC (XX-XXXXXXX)

Housing Partners, LLC (XX-XXXXXXX)

Indian Wells California Partners, LLC (XX-XXXXXXX)
Institutional Equity Partners, LLC (XX-XXXXXXX)

Lucid Land Development, LLC (XX-XXXXXXX)

Mojave Advertising, LLC (XX-XXXXXXX)

Nevada Technology Networks, LLC (XX-XXXXXXX)
Opaque Land Development, LLC (XX-XXXXXXX)
PerUSA, LLC (XX-XXXXXXX)

Placer County Land Investors, LLC

(formerly Placer County Land Speculators, LLC)
Random Developments, LLC

Ravenswood Apply Valley, LLC (XX-XXXXXXX)

Reno Design Center, LLC (XX-XXXXXXX)

Soda Flats Land Company, LLC (XX-XXXXXXX)
Southern California Land Development, LLC (XX-XXXXXXX)
Sparks Galleria Investors, LLC

Sugartree, LLC (XX-XXXXXXX)

Tanamera Commercial Development, LLC (XX-XXXXXXX)
Tanamera Development, LLC (XX-XXXXXXX)

Tanamera Homes, LLC (XX-XXXXXXX)

Tanamera Residential, LLC (XX-XXXXXXX)

TJA Marketing, LLC (XX-XXXXXXX)

Toblak, LLC (20- 1060932)

Tree Moss Partners, LLC (XX-XXXXXXX)

Twelve Horses North Ametica, LLC (XX-XXXXXXX)
USA Capital Diversified Trust Deed Fund, LLC (88-045 1664)
USA Capital First Trust Deed Fund, LLC (XX-XXXXXXX)
USA Capital Mortgage, LLC (XX-XXXXXXX)

USA Capital Realty Advisors, LLC (XX-XXXXXXX)

USA Capital Secured Income Fund, LLC (XX-XXXXXXX)
USA Capital Specialty Finance, LLC (XX-XXXXXXX])
USA Commercial Mortgage Company (XX-XXXXXXX)

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USA Investors I, LLC (XX-XXXXXXX)
USA Investors Il, LLC (XX-XXXXXXX)
USA Investors VI, LLC XX-XXXXXXX)
USA Securities, LLC (XX-XXXXXXX)
Vegas Hot Spots, LLC (XX-XXXXXXX)

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